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     Douglas Weider
     Tel. 973.360.7916
     weiderd@gtlaw.com
                                                                     September 28, 2023
     VIA ECF

     The Honorable Jose R. Almonte, U.S.M.J.
     Frank R. Lautenberg US Post Office &
       Courthouse Building
     2 Federal Square
     Newark, NJ 07102

           Re:      Catalyst Pharmaceuticals, Inc. and SERB SA v. Teva Pharmaceuticals, Inc., et al
                    Civil Action No. 2:23-cv-01190-MEF-JRA; Catalyst Pharmaceuticals, Inc. and
                    SERB SA v. Anora Pharma Private Limited, et al., Civil Action No. 2:23-cv-
                    01194-MEF-JRA; and Catalyst Pharmaceuticals, Inc. And SERB SA v. Lupin
                    LTD., et al., Civil Action No. 2:23-cv-01197-MEF-JRA

     Dear Judge Almonte:

           This firm, along with Winston and Strawn, LLP, represents Defendants Teva
     Pharmaceuticals, Inc. and Teva Pharmaceuticals USA, Inc.

             The Court’s Scheduling Order governing all the above matters provides that the parties
     shall exchange preliminary proposed constructions and identification of extrinsic evidence on or
     before September 28, 2023. We write on behalf of all Defendants to respectfully request an
     extension of that date to on or before October 2, 2023. Plaintiffs do not oppose this request and
     this extension would not affect any other deadlines in the Scheduling Order. If this meets with the
     Court’s approval, we respectfully request that Your Honor sign the below form of endorsement
     and have it entered on the dockets.

                       Thank you for Your Honor’s kind attention to this request.

                                                                      Respectfully yours,



                                                                     Douglas Weider
     cc:      All counsel of record (via ECF)

     SO ORDERED.

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     Hon. Jose R. Almonte, U.S.M.J.



Greenberg Traurig, LLP | Attorneys at Law
500 Campus Drive | Suite 400 | Florham Park, New Jersey 07932 | T +1.973.360.7900 | F +1.973.301.8410
www.gtlaw.comACTIVE 686957556v1
